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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION TO
14         v.                                    SHORTEN BRIEFING SCHEDULE FOR
                                                 DEFENDANTS’ MOTION TO
15   NSO GROUP TECHNOLOGIES LIMITED              SUBSTITUTE EXPERT JOHN TOWN
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               [Filed concurrently with Proposed Order]
                 Defendants.
17                                               Judge: Hon. Phyllis J. Hamilton
18                                               Action Filed: 10/29/2019
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      DEFENDANTS’ ADMINISTRATIVE MOTION TO                            Case No. 4:19-cv-07123-PJH
      SHORTEN BRIEFING SCHEDULE
     Case 4:19-cv-07123-PJH         Document 481        Filed 12/11/24      Page 2 of 2




 1          In connection with their concurrently filed Motion to Substitute Defendants’ Expert Jay

 2   Town, Defendants (“NSO”) hereby move under Local Rule 7-11 to shorten the briefing schedule

 3   for the Motion to Substitute. Specifically, NSO requests the following schedule:

 4              •   Motion to Substitute: December 11, 2024

 5              •   Plaintiffs’ Opposition: December 18, 2024

 6              •   NSO’s Reply: December 20, 2024, by 1:30 p.m.

 7          The requested schedule is necessary to ensure that the Court is able to resolve the Motion

 8   to Substitute in time for Plaintiffs to depose Mr. Minkler and file any in limine motion concerning

 9   Mr. Minkler’s testimony without having any negative impact on the current case schedule. Seven

10   days is more than adequate for Plaintiffs to prepare an opposition to NSO’s Motion to Substitute

11   because that Motion is four pages long and the issues raised are straightforward. NSO attempted

12   to obtain consent for the requested relief of this shortened briefing schedule, but Plaintiffs have

13   not agreed to it. (See Akro. Decl. ¶ 10.)

14          Accordingly, the Court should grant this Administrative Motion and enter the

15   accompanying Order shortening the briefing schedule for NSO’s Motion to Substitute.

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17   DATED: December 11, 2024                         KING & SPALDING LLP
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                                                      By: /s/Joseph N. Akrotirianakis
19                                                        JOSEPH N. AKROTIRIANAKIS
                                                          AARON S. CRAIG
20

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                                                           TECHNOLOGIES LIMITED and Q
22                                                         CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ ADMINISTRATIVE MOTION TO                  1               Case No. 4:19-cv-07123-PJH
      SHORTEN BRIEFING SCHEDULE
